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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK
                                   MANHATTAN

Gloria Miramontes, individually and on behalf                       1:22-cv-04192
of all others similarly situated,
                                 Plaintiff,

                   - against -                                 Class Action Complaint

Ralph Lauren Corporation,
                                                                Jury Trial Demanded
                                 Defendant

       Plaintiff alleges upon information and belief, except for allegations pertaining to Plaintiff,

which are based on personal knowledge:


       1.     Ralph Lauren Corporation (“Defendant”) sells women’s burgundy lightweight v-

neck sweaters marketed as made entirely from Pima cotton under the Polo brand (“Product”).
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        2.     The neck tag identifies the Product as “Washable” and “Pima Cotton.”




        3.     One of the Product’s hang tags states, “Fine luxurious yarns crafted from Pima

Cotton fibers distinguish this signature design, knit in a fine gauge stich for lightweight comfort

and an exquisitely soft hand.”




        4.     “Cotton,” from the genus Gossypium, refers to the part of the cotton plant that grows

in the boll, the encasing for the fluffy cotton fibers.



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         5.     Numerous types of cotton are grown commercially worldwide, such as upland

cotton, extra-long staple cotton, tree cotton and Levant cotton.1

         6.     Different types of cotton have different characteristics, such as strength, softness,

and fiber length.

         7.     The main criteria to identify the type of cotton is the fiber length.

         8.     The length of cotton fibers affects its qualities and price, because the longer the fiber,

the stronger, softer, and more durable the resulting fabric.

         9.     Pima cotton is a type of extra-long staple (“ELS”) cotton with a range of 1.2 inches

to 1.48 inches.

         10.    According to the United States Department of Agriculture (“USDA”), the average

length of Pima cotton fibers is 1.3125 inches. 7 C.F.R. § 28.304.

         11.    Pima cotton was developed by the USDA in 1951 and is grown in California,

Arizona, Texas, and New Mexico.

         12.    Since cotton with longer fibers are more expensive, there is great incentive to mix



1
    Gossypium hirsutum, Gossypium barbadense, Gossypium arboretum and Gossypium herbaceum.


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cotton byproducts and shorter fibers with higher value longer fibers.

        13.   Pima cotton products are costlier than those made of shorter types of cotton.

        14.   Consumers value products made from Pima cotton because they are softer and more

durable than products made from non-Pima cotton.

        15.   The American Society for Testing and Materials (“ASTM”) developed the Single-

Fiber Test to determine fiber lengths in finished cotton products such as sheets and clothing.2

        16.   The Single-Fiber Test was applied to Plaintiff’s Product. Exhibit A, TexTest Report

9701.




        17.   The results revealed that (1) 100% of the fibers were shorter than 1.20 inches (30.48

mm), the low end of the range for Pima cotton and (2) 88% of the fibers were shorter than 1.08



2
 ASTM D5103, Standard Test Method for Length and Length Distribution of Manufactured Staple
Fibers.


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inches (27.432 mm).




       18.   The TexTest Report was reviewed by Dr. Sabit Adenur, a professor who specializes

in textiles and has written textbooks on these subjects.

       19.   Dr. Adenur concluded that even if all of the fibers were shortened by 25% during the

manufacturing processes, the total number of fibers that would qualify as Pima cotton would be

62%. Exhibit B, Adenur Report.

                           As Tested                               Prior to Manufacturing Processes

                           Length Group         Number of Fibers   Length Group Lower Limit (inch)
                           Lower Limit (inch)
                           2.040                0                  2.720
                           1.920                0                  2.560
                           1.800                0                  2.400
                           1.680                0                  2.240
                           1.560                0                  2.080
       Pima Cotton Range   1.440                0                  1.920
                           1.320                0                  1.760
                           1.200                0                  1.600
                           1.080                12                 1.440
                           0.960                19                 1.280




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                            0.840             31                1.120
                            0.720             31                0.960
                            0.600             7                 0.800
                            0.480             0                 0.640
                            0.360             0                 0.480
                            0.240             0                 0.320
                            0.120             0                 0.160
                            0.000             0                 0.000
                            Total:            100


       20.    The 62% is arrived at by adding the number of fibers – 12 + 19 + 31 – within the

range of 1.120 and 1.440, shown in column four.

       21.    Dr. Adenur noted that this conclusion assumes that all 31 fibers longer than 1.120

inches are equal to or greater than 1.200 inches, the minimum length for Pima cotton, which is

statistically improbable.

       22.    For numerous reasons, it is unlikely the cotton fibers used in the Product were

reduced in size by 25% from the time the cotton was harvested until it was analyzed.

       23.    Cotton fibers can be reduced in size by ginning, a two-stage mechanical process

which removes gin trash, such as stems, burrs, soil, and other debris, from the cotton bolls and

separates the cotton fibers from the seed.

       24.    In studies on upland cotton, the average length decrease from ginning was only 3.9%.

       25.    However, upland cotton uses saw ginning, an intensive process that can be

destructive to cotton fibers.

       26.    In contrast, Pima cotton is processed through roller ginning, which is gentler to cotton

fibers than saw ginning, and results in no meaningful shortening of the fibers.

       27.    After ginning, the cotton is dyed and steamed.

       28.    That this step does not have a significant impact on fiber length is shown because




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only one study reported that a raw stock vat-dyeing process reduced fiber length, and only by a

slight amount.

        29.   The final pressing of finished cotton rarely reduces the fiber length, because it is done

in moist conditions which reduce the brittleness of the fibers and increase their tensile strength.

        30.   After the cotton is made into a finished product, the fibers can be shortened through

pilling, when the fibers break, tangle and “ball up.”

        31.   Pilling is also more common with shorter and synthetic fibers, which is why Pima

cotton, with longer fibers, is not prone to pilling.

        32.   Even when manufacturers apply anti-pilling treatments to remove protruding fibers

to prevent pilling, any reduction in fiber length would be de minimis.

        33.   This is because the fiber protrusion from the fabric is usually not significant.

        34.   Since Plaintiff’s Product was new and unused, there could not have been shortening

of the fiber lengths due to wear.

        35.   Since Plaintiff’s Product had not been worn or washed, the length of the fibers did

not shrink.

        36.   Assuming the worst case scenario of fiber shortening such that only 62% of the fibers

qualified as Pima Cotton, this is still significantly less than advertised, as the Product purports to

be only Pima Cotton.

        37.   The TexTest Report supports the strong inference that the cotton used in the Product

is not only Pima cotton but contains a significant amount of less expensive shorter cotton fibers

and cotton byproduct fibers.

        38.   The failure to disclose the presence of less Pima cotton than advertised is contrary to

the Textile Fiber Products Identification Act (“Textile Act”) and its regulations. 15 U.S.C. §§ 70,




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et seq.; 16 C.F.R. § 303.15(b).

        39.     Defendant makes other representations and omissions with respect to the Product

which are false and misleading.

        40.     Reasonable consumers must and do rely on a company to honestly and lawfully

market and describe the components, attributes, and features of a product, relative to itself and

other comparable products or alternatives.

        41.     The value of the Product that Plaintiff purchased was materially less than its value

as represented by Defendant.

        42.     Defendant sold more of the Product and at higher prices than it would have in the

absence of this misconduct, resulting in additional profits at the expense of consumers.

        43.     Had Plaintiff known the truth, she would not have bought the Product or would have

paid less for it.

        44.     As a result of the false and misleading representations, the Product is sold at a

premium price, approximately no less than no less than $39.99, excluding tax and sales, higher

than similar products, represented in a non-misleading way, and higher than it would be sold for

absent the misleading representations and omissions.

                                            Jurisdiction and Venue

        45.     Jurisdiction is pursuant to Class Action Fairness Act of 2005 (“CAFA”). 28 U.S.C.

§ 1332(d)(2).

        46.     The aggregate amount in controversy exceeds $5 million, including any statutory

damages, exclusive of interest and costs.

        47.     The Product has been sold at thousands of locations in the states covered by the

classes Plaintiff seeks to represent, with the representations challenged here, for at least 10 years.




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       48.    Plaintiff Gloria Miramontes is a citizen of Texas.

       49.    Defendant Ralph Lauren Corporation is a Delaware corporation with a principal

place of business in New York, New York County, New York.

       50.    The class of persons Plaintiff seeks to represent includes persons who are citizens of

different states from which Defendant is a citizen

       51.    The members of the class Plaintiff seeks to represent are more than 100, because the

Product has been sold with the representations described here, in thousands of locations, in the

states covered by Plaintiff’s proposed classes.

       52.    Venue is in the Manhattan in this District because a substantial part of the events or

omissions giving rise to these claims occurred in New York County, such as Defendant’s decisions

for labeling the Product.

       53.    Venue is in this District because Defendant resides in this District.

                                                Parties

       54.    Plaintiff Gloria Miramontes is a citizen of El Paso, El Paso County, Texas.

       55.    Defendant Ralph Lauren Corporation is a Delaware corporation with a principal

place of business in New York, New York, New York County.

       56.    Defendant is one of the largest sellers of clothing in the world.

       57.    Defendant sells its clothing to consumers from its Ralph Lauren Polo mainline stores

and outlets, third-parties such as Macy’s, and online.

       58.    The Polo Ralph Lauren brand is synonymous with the highest quality, so consumers

expect the products it sells to live up to their word.

       59.    Plaintiff purchased the Product at the Polo Factory Store, 7051 S Desert Blvd El

Paso, TX 79932, on November 9, 2019.




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        60.    Plaintiff believed and expected the Product contained cotton that was only Pima

cotton, because the neck tag said Pima cotton and the hang tag described only Pima cotton because

that is what the representations and omissions said and implied, on the front label and the absence

of any reference or statement elsewhere on the Product.

        61.    Plaintiff relied on the words, terms coloring, descriptions, layout, placement,

packaging, hang tags, and/or images on the Product, on the labeling, statements, omissions, claims,

statements, and instructions, made by Defendant or at its directions, in digital, print and/or social

media, which accompanied the Product and separately, through in-store, digital, audio, and print

marketing.

        62.    Plaintiff bought the Product at or exceeding the above-referenced price.

        63.    Plaintiff would not have purchased the Product if she knew the representations and

omissions were false and misleading or would have paid less for it.

        64.    Plaintiff chose between Defendant’s Product and products represented similarly, but

which did not misrepresent their attributes, requirements, instructions, features, and/or

components.

        65.    The Product was worth less than what Plaintiff paid and she would not have paid as

much absent Defendant's false and misleading statements and omissions.

        66.    Plaintiff intends to, seeks to, and will purchase the Product again when she can do so

with the assurance the Product's representations are consistent with its abilities, attributes, and/or

composition.

        67.    Plaintiff is unable to rely on the labeling and representations not only of this Product,

but other similar Pima cotton clothing, because she is unsure whether those representations are

truthful.




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                                         Class Allegations

       68.    Plaintiff seeks certification under Fed. R. Civ. P. 23 of the following classes:

                       Texas Class: All persons in the State of Texas who
                       purchased the Product during the statutes of
                       limitations for each cause of action alleged; and

                       Consumer Fraud Multi-State Class: All persons in
                       the States of New York, Connecticut, New
                       Hampshire, Indiana, Virginia, Montana, Wyoming,
                       Idaho, Alaska, Vermont, Georgia, Iowa, Minnesota,
                       Delaware, Mississippi, Tennessee, Arkansas, South
                       Carolina and Utah who purchased the Product during
                       the statutes of limitations for each cause of action
                       alleged.

       69.    Common questions of issues, law, and fact predominate and include whether

Defendant’s representations were and are misleading and if Plaintiff and class members are entitled

to damages.

       70.    Plaintiff's claims and basis for relief are typical to other members because all were

subjected to the same unfair, misleading, and deceptive representations, omissions, and actions.

       71.    Plaintiff is an adequate representative because her interests do not conflict with other

members.

       72.    No individual inquiry is necessary since the focus is only on Defendant’s practices

and the class is definable and ascertainable.

       73.    Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest relative to the scope of the harm.

       74.    Plaintiff's counsel is competent and experienced in complex class action litigation

and intends to protect class members’ interests adequately and fairly.

       75.    Plaintiff seeks class-wide injunctive relief because the practices continue.




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                    New York General Business Law (“GBL”) §§ 349 & 350

                                  (Consumer Protection Statute)

       76.    Plaintiff incorporates by reference all preceding paragraphs.

       77.    Plaintiff believed the Product contained cotton that was only Pima cotton, because

the neck tag said Pima cotton and the hang tag described only Pima cotton.

       78.    Defendant’s false, misleading and deceptive representations and omissions are

material in that they are likely to influence consumer purchasing decisions.

       79.    Defendant misrepresented the Product through statements, omissions, ambiguities,

half-truths and/or actions.

       80.    Plaintiff relied on the representations and omissions to believe the Product contained

cotton that was only Pima cotton, because the neck tag said Pima cotton and the hang tag described

only Pima cotton.

       81.    Plaintiff would not have purchased the Product or paid as much if the true facts had

been known, suffering damages.

                              Violation of State Consumer Fraud Acts

                      (On Behalf of the Consumer Fraud Multi-State Class)


       82.    The Consumer Fraud Acts of the States in the Consumer Fraud Multi-State Class are

similar to the consumer protection statute invoked by Plaintiff and prohibit the use of unfair or

deceptive business practices in the conduct of commerce.

       83.    The members of the Consumer Fraud Multi-State Class reserve their rights to assert

their consumer protection claims under the Consumer Fraud Acts of the States they represent

and/or the consumer protection statute invoked by Plaintiff.

       84.    Defendant intended that members of the Consumer Fraud Multi-State Class would



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rely upon its deceptive conduct.

          85.   As a result of Defendant’s use of artifice, and unfair or deceptive acts or business

practices, the members of the Consumer Fraud Multi-State Class sustained damages.

          86.   Defendant’s conduct showed motive and a reckless disregard of the truth such that

an award of punitive damages is appropriate.

                                      Breaches of Express Warranty,
                    Implied Warranty of Merchantability/Fitness for a Particular Purpose
                      and Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

          87.   The Product was manufactured, identified, marketed and sold by Defendant and

expressly and impliedly warranted to Plaintiff that it contained cotton that was only Pima cotton,

because the neck tag said Pima cotton and the hang tag described only Pima cotton.

          88.   Defendant directly marketed the Product to Plaintiff through its advertisements and

marketing, through various forms of media, on the packaging, in print circulars, direct mail,

product descriptions distributed to resellers, and targeted digital advertising.

          89.   Defendant knew the product attributes that potential customers like Plaintiff were

seeking and developed its marketing and labeling to directly meet those needs and desires.

          90.   Defendant’s representations about the Product were conveyed in writing and

promised it would be defect-free, and Plaintiff understood this meant that it contained cotton that

was only Pima cotton, because the neck tag said Pima cotton and the hang tag described only Pima

cotton.

          91.   Defendant’s representations affirmed and promised that the Product contained cotton

that was only Pima cotton, because the neck tag said Pima cotton and the hang tag described only

Pima cotton.




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       92.   Defendant described the Product so Plaintiff believed it contained cotton that was

only Pima cotton, because the neck tag said Pima cotton and the hang tag described only Pima

cotton, which became part of the basis of the bargain that it would conform to its affirmations and

promises.

       93.   Defendant had a duty to disclose and/or provide non-deceptive descriptions and

marketing of the Product.

       94.   This duty is based on Defendant’s outsized role in the market for this type of Product,

a trusted company known for its high quality products.

       95.   Plaintiff recently became aware of Defendant’s breach of the Product’s warranties.

       96.   Plaintiff provided or will provide notice to Defendant, its agents, representatives,

retailers, and their employees.

       97.   Plaintiff hereby provides notice to Defendant that it breached the express and implied

warranties associated with the Product.

       98.   Defendant received notice and should have been aware of these issues due to

complaints by third-parties, including regulators, competitors, and consumers, to its main offices,

and by consumers through online forums.

       99.   The Product did not conform to its affirmations of fact and promises due to

Defendant’s actions.

       100. The Product was not merchantable because it was not fit to pass in the trade as

advertised, not fit for the ordinary purpose for which it was intended and did not conform to the

promises or affirmations of fact made on the packaging, container or label, because it was marketed

as if it contained cotton that was only Pima cotton, because the neck tag said Pima cotton and the

hang tag described only Pima cotton.




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       101. The Product was not merchantable because Defendant had reason to know the

particular purpose for which the Product was bought by Plaintiff, because she expected it contained

cotton that was only Pima cotton, because the neck tag said Pima cotton and the hang tag described

only Pima cotton, and she relied on Defendant’s skill and judgment to select or furnish such a

suitable product.

       102. Plaintiff would not have purchased the Product or paid as much if the true facts had

been known, suffering damages.

                                       Negligent Misrepresentation

       103. Defendant had a duty to truthfully represent the Product, which it breached.

       104. This duty was non-delegable, based on Defendant’s position, holding itself out as

having special knowledge and experience in this area, a trusted company known for its high quality

products.

       105. Defendant’s representations and omissions regarding the Product went beyond the

specific representations on the packaging, as they incorporated the extra-labeling promises and

commitments to quality, transparency and putting customers first, that it has been known for.

       106. These promises were outside of the standard representations that other companies

may make in a standard arms-length, retail context.

       107. The representations took advantage of consumers’ cognitive shortcuts made at the

point-of-sale and their trust in Defendant.

       108. Plaintiff reasonably and justifiably relied on these negligent misrepresentations and

omissions, which served to induce and did induce, their purchase of the Product.

       109. Plaintiff would not have purchased the Product or paid as much if the true facts had

been known, suffering damages.




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                                                Fraud

       110. Defendant misrepresented and/or omitted the attributes and qualities of the Product,

that it contained cotton that was only Pima cotton, because the neck tag said Pima cotton and the

hang tag described only Pima cotton.

       111. Moreover, the records Defendant is required to maintain, and/or the information

inconspicuously disclosed to consumers, provided it with actual and constructive knowledge of

the falsity and deception, through statements and omissions.

       112. Defendant knew of the issues described here yet did not address them.

       113. Defendant’s fraudulent intent is evinced by its knowledge that the Product was not

consistent with its representations.

                                         Unjust Enrichment

       114. Defendant obtained benefits and monies because the Product was not as represented

and expected, to the detriment and impoverishment of Plaintiff and class members, who seek

restitution and disgorgement of inequitably obtained profits.

                                 Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying Plaintiff as representative and the

       undersigned as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing Defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove, correct and/or refrain from the challenged practices and

       representations, and restitution and disgorgement for members of the class pursuant to the

       applicable laws;


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   4. Awarding monetary damages, statutory and/or punitive damages pursuant to any statutory

      claims and interest pursuant to the common law and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for Plaintiff's attorneys and

      experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: May 22, 2022
                                                      Respectfully submitted,

                                                      /s/Spencer Sheehan
                                                      Sheehan & Associates, P.C.
                                                      Spencer Sheehan
                                                      60 Cuttermill Rd Ste 412
                                                      Great Neck NY 11021
                                                      Tel: (516) 268-7080
                                                      spencer@spencersheehan.com

                                                      Aaronson Law Firm
                                                      Michael L. Aaronson*
                                                      7362 Remcon Cir
                                                      El Paso TX 79912
                                                      Tel: (915) 241-7590
                                                      mikeaaronson@gmail.com
                                                      *Pro Hac Vice Application Forthcoming




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